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               EXHIBIT B
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     Outlook


RE: HPE/Juniper Trial Logistics

From Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>
Date Tue 6/10/2025 5:01 AM
To   Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>; Roxana Guidero <rguidero@wilkinsonstekloff.com>;
     Jenna Pavelec <jpavelec@wilkinsonstekloff.com>; Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>;
     FORKNER, Constance <Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
     <Elizabeth.Giordano@freshfields.com>
Cc   Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry <MJPerry@gibsondunn.com>; Ryan
     Travers <ryan.travers@skadden.com>; Conrath, Craig (ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth
     (ATR) <Elizabeth.Jensen@usdoj.gov>; Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron
     (ATR) <Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie (JSE)
     <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>




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Mike,

Thanks for the agreement on the witness order exchange. We’ll revert on your latest
proposal on the proposed findings of fact and conclusions of law, but we’re close there
now as well. On these areas of alignment or near-alignment, we agree that motions
practice is not necessary, and we can figure out an efficient way to present them to the
court.

On the issues of equal division of time, depo designations counting against the clock,
and the enforcement of the rule on sponsoring witnesses, however, we’ve concluded
that we should proceed via motions practice rather than a joint request for guidance.
We see these as not mere logistical issues, but as ones that will meaningfully shape
the substance and conduct of trial. Just as a motion in limine would be conducted
through an opening brief and a response teeing up a ruling from the court, we think
that process is called for here on these areas of impasse. That you see the
implications here as potentially including an extension of trial days or length further
confirms the importance of these issues to us.

As to your comment that the deposition designation impasse is not a live issue, this
underlines why we feel the need to file a motion. There was no briefing or argument
on this before the February conference, and no argument on it at the conference, it
was something you raised casually in a question to the court at the end of the
hearing. And, obviously, we did not have the deposition designations back then, which
in DOJ’s case now suggest that you intend to roughly double the length of your trial
record through out of court designation submissions. We believe the better approach
is to brief such issues and lay out the implications, and we have a right to seek relief
from the court and try to persuade it now that we have a tangible sense of the
implications.

In terms of the motion we will file, it would be a single motion addressing these three
areas of impasse. Defendants will ask for an even division of trial time, that deposition
designations be played and count against the clock even if they are not played, and
that the rule on sponsoring witnesses be enforced. The arguments we’ll offer in
support should not come as a surprise, as we’ve previewed them in our meet and
confers.

I think we can be in position to file today. Please let me know how long you would like
for DOJ’s response.

Thank you,
Kosta

From: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>
Sent: Monday, June 9, 2025 11:44 PM
To: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance




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<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: RE: HPE/Juniper Trial Logistics

Kosta, We agree that the parties should have clarity regarding trial logistics no later than the final pretrial on June 30. Let me start with some topics where I think we can have agreement. First, we agree to exchange the witness order 48 hours in advance. Second, we propose ‌‌‌‌‌‌




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Kosta,

We agree that the parties should have clarity regarding trial logistics no later than the
final pretrial on June 30.

Let me start with some topics where I think we can have agreement. First, we agree to
exchange the witness order 48 hours in advance. Second, we propose having no
more than 100 pages for the pretrial proposed findings of fact and conclusions of law,
and 175 pages for post-trial.

Regarding the other areas, we agree we are at an impasse regarding allocation of
time. However, for clarity, we amend our original proposal and propose that Plaintiff
get 30 hours and Defendants get 26 because we have the burden of proof, and by
nature of going first, we have to get into background information that you do not. I
would note that if the Court disagrees with our position, we will be seeking additional
time- either starting on an earlier date (such as July 7) or by having longer trial days.

The other two issues- deposition designations and sponsoring witnesses- we appear
to be at an impasse, but our position is that the Court has already provided guidance
on the designations and so it is not a live issue.

Nonetheless, we believe that these three issues are better suited for a joint
letter/motion with some page restrictions because these issues are seeking the Court’s
preference rather than a matter of law.

Please let us know your thoughts on the joint letter/motion. If you disagree, please let
us know what type of motion you intend to file.

Thanks.

Mike




                                                                                                                                                                                                                                                                                                     3
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From: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>
Sent: Monday, June 9, 2025 2:34 PM
To: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: [EXTERNAL] RE: HPE/Juniper Trial Logistics

Mike,

As we’ve continued to reflect on our conversation around trial logistics,
Defendants have concluded that we need to raise the areas of impasse with
the Court promptly. By areas of impasse, I mean (1) whether the trial time
should be split evenly; (2) whether depo designations should be submittable
without being played at trial and without counting against the chess clock; and
(3) whether the rule on sponsoring witnesses should be enforced.

On the other items we have been discussing, we seem at or close to
agreement, and they do not seem like things that would substantially change
the nature of the trial. We’re happy to keep discussing those with you and
present something to the court, but we do not want to hold off raising the above
three issues now via motions practice.

In terms of process, because a motion on a regular schedule would be set for
argument after the pre-trial conference, we will seek expediting so that we can
get a ruling at least by the pre-trial conference and possibly earlier. Would DOJ
be willing to stipulate to briefing the above issues on an expedited basis? If so,
please let me know how many days DOJ would want for its response to
Defendants’ motion.

We’re also inclined to tell the Court that if it would find argument helpful, the
parties stand ready to argue the motion at the pre-trial conference or before
then if the Court has availability, and that if the Court is inclined to rule on the
papers the parties will await its ruling.

Thanks,
Kosta




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From: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>
Sent: Thursday, June 5, 2025 11:02 AM
To: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: RE: HPE/Juniper Trial Logistics

Kosta,

We agree with pulling the meeting today.

Thanks.

Mike

From: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>
Sent: Thursday, June 5, 2025 10:35 AM
To: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: [EXTERNAL] RE: HPE/Juniper Trial Logistics

Counsel,

We suggest pulling down today’s call. We spoke yesterday afternoon, and we
are busy assessing the more than 25 hours of depo designations that you
disclosed last night, along with the confidentiality and objections workstreams
for the exhibits. If there is something pressing today, please reach out via
email.

Thanks,



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Kosta

From: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>
Sent: Monday, June 2, 2025 3:17 PM
To: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: RE: HPE/Juniper Trial Logistics

Kosta,

Does 2 PM ET work tomorrow to continue our discussion?

Thanks.

Mike

From: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>
Sent: Thursday, May 29, 2025 9:40 AM
To: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie
(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: [EXTERNAL] RE: HPE/Juniper Trial Logistics

Thanks Mike. We were thinking already in our internal conversations since last
Thursday’s call, and the below proposals confirms to us, that we should not be
seeking a status hearing next week for guidance on this. Some of these
suggestions would suspend appliable legal requirements, others would impinge
on defendants’ substantive rights. If we can’t reach common ground, we will
need to brief them with the court, and we would not agree to do so on an
artificially expedited basis, particularly considering that we have a lot of near



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term deadlines like the exhibit list, depo designations, and expert depo
practice.

Our suggestions is this: let’s start discussing these items today and see if we
can work toward areas of agreement, as well as to better understand some of
your proposals and articulate our concerns, so that both sides have more
information to take back and consider. If we can agree on a set of proposals
over the coming weeks, we believe that we can present them to Judge Pitts at
the pretrial conference and get his buy-in. And if we can’t eliminate areas of
disagreement, we can at least try to narrow them through a fulsome meet and
confer process that extends beyond today’s call, and figure out how to raise
them in briefing with the court.

Kosta


Kosta Stojilkovic | Partner
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thereof, including all attachments.

From: Freeman, Michael (ATR) <Michael.J.Freeman@usdoj.gov>
Sent: Wednesday, May 28, 2025 10:15 PM
To: Kosta Stojilkovic <kstojilkovic@wilkinsonstekloff.com>; Roxana Guidero
<rguidero@wilkinsonstekloff.com>; Jenna Pavelec <jpavelec@wilkinsonstekloff.com>;
Goldstein, Jeremy (ATR) <Jeremy.Goldstein@usdoj.gov>; FORKNER, Constance
<Constance.Forkner@freshfields.com>; GIORDANO, Elizabeth
<Elizabeth.Giordano@freshfields.com>
Cc: Samuel Liversidge <SLiversidge@gibsondunn.com>; Michael J Perry
<MJPerry@gibsondunn.com>; Ryan Travers <ryan.travers@skadden.com>; Conrath, Craig
(ATR) <Craig.Conrath@usdoj.gov>; Jensen, Elizabeth (ATR) <Elizabeth.Jensen@usdoj.gov>;
Levan, Andrea (ATR) <Andrea.Levan@ATR.USDOJ.GOV>; Sheanin, Aaron (ATR)
<Aaron.Sheanin@usdoj.gov>; SVENSON, Ross <Ross.Svenson@freshfields.com>; ELMER, Julie




                                                   7
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(JSE) <Julie.Elmer@freshfields.com>; MELLOTT, Jenn (JEM) <jennifer.mellott@freshfields.com>
Subject: HPE/Juniper Trial Logistics

Kosta,

I am following up on our discussion last week about trial logistics. We think it would be
helpful to get some guidance from the judge before the final pretrial conference on
June 30. Ideally, I would like to file a joint request for a status conference (in-person or
remote) this week requesting a conference for June 5. Below is a list of proposals
around the trial. Some of which I think we can agree without court involvement, but
some I think we want the Court’s input. Please let us know your thoughts on the
proposal and if you have any other topics. We can discuss more fully on our call
tomorrow.


       Openings and closings: One hour for openings and 90 minutes for closings
       Allocation of trial time: Court has allocated 56 hours for trial. Plaintiff gets 33
       hours (about 60%) and Defendants get 23 hours given Plaintiff has burden
       Chess Clock: The above time allocation is calculated by the use of a chess
       clock, meaning that time is only deducted when questioning a witness or playing
       a deposition designation video or read in
       Sponsoring Witness: Parties will not object to exhibits on the basis of
       authenticity or lack of foundation because the exhibit is being admitted without a
       sponsoring witness.
       Demonstratives: Parties will exchange demonstratives, including those used
       for opening and closing, by 9 PM PT the day before their intended use
       Witness Order: By 9 PM PT, the parties will disclose their intended witness
       order for the following trial day including those they intend to offer by
       designation if by video or read in
       PFOF and PCOL: The proposed findings of facts and conclusions of law (pre-
       trial and post-trial) will be one document not to exceed 200 pages.
       Pretrial Brief: The substance of pretrial briefs range significantly depending on
       the court and judge. Request the court provide some guidance as to the
       substance and length of the pretrial brief.

Thanks.

Mike




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